             Case 2:23-cr-00179-RAJ Document 83-1 Filed 04/26/24 Page 1 of 2




1                                                           The Honorable Richard A. Jones

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7                         UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE
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10
      UNITED STATES OF AMERICA,                       NO. CR23-179RAJ
11
                              Plaintiff,
12
                                                      [Proposed]
13
                         v.                           ORDER TO SEAL UNITED STATES’
14
      CHANGPENG ZHAO, aka “CZ,”                       SUPPLEMENTAL SENTENCING
15
                              Defendant.              MEMORANDUM
16
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19
           Having read the Government’s Motion to Seal, and for the reasons set forth
20
     therein, it is hereby ORDERED that the United States Supplemental Sentencing
21
     Memorandum shall remain sealed.
22
           DATED this ______ day of April, 2024.
23
24                                                 _________________________
                                                   HON. RICHARD A. JONES
25                                                 United States District Judge
26
27
     Order to Seal - 1                                           UNITED STATES ATTORNEY
     United States v. Zhao/CR23-179RAJ                          700 STEWART STREET, SUITE 5220
                                                                  SEATTLE, WASHINGTON 98101
                                                                        (206) 553-7970
             Case 2:23-cr-00179-RAJ Document 83-1 Filed 04/26/24 Page 2 of 2




1 Presented by:
2 s/ Michael Dion
  MICHAEL DION
3 Assistant United States Attorney
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     Order to Seal - 2                                     UNITED STATES ATTORNEY
     United States v. Zhao/CR23-179RAJ                    700 STEWART STREET, SUITE 5220
                                                            SEATTLE, WASHINGTON 98101
                                                                  (206) 553-7970
